             IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF MISSOURI
                                      SOUTHERN DIVISION


UNITED STATES OF AMERICA,                          )
                                                   )
                         Plaintiff,                )
                                                   )
       vs.                                         )      No. 10-03069-12-CR-S-RED
                                                   )
GEROLD L. THOMPSON,                                )
                                                   )
                         Defendant.                )


                       ACCEPTANCE OF PLEA OF GUILTY AND
                            ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Counts One and

Fourteen contained in the Fourth Superseding Indictment filed on February 29, 2012, is now

Accepted and the Defendant is Adjudged Guilty of such offenses. Sentencing will be set by

subsequent Order of the Court.




                                                   s/ Richard E. Dorr
                                                           RICHARD E. DORR
                                                   UNITED STATES DISTRICT JUDGE




Date: December 14, 2012.




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